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TRANSCRIPT OF ‘IS THIS AN ATF TRAP AND HOW DOES IT WORK’

MH:

Posted to CRS Firearms YouTube channel on November 4, 2020

MH = MATTHEW RAYMOND HOOVER

All right. So if you clicked on this video, you're probably curious of two
things. One, is the Lightning Link and an ATF trap. Well, | wasn't
arrested. Two, how exactly does it work? What does it do? And we'll
cover both of those. But first, we'll need to put context in it, so if you're
unfamiliar with everything, you kind of understand why this is even
relevant.

So it all started with the bump stocks ban. What happened is there was
this stock that you can put on your rifle that would allow you to use
recoil to reset your trigger, so you can simulate full-auto fire. As a gun
person, you will go through a stage of progression. What's gonna
happen is you will turn 18. Well, it could happen at any age, but
typically, it happens when you turn 18 because you were always a gun
person, but now you can buy them yourself. So you purchase this
firearm. The next progression is well, | want to see what It would be like
to shoot it like how | see in the movies. | want to know what it would be
like if | was in the military to shoot this rifle. What is full auto like?
What's all the hype? Is it practical? | want to Know what's going on.
Well, just a couple of years ago, you would buy this like 100, around
$100 part called the bump stock. It would go on your firearm. You would
simulate full-auto fire. You'd be like, "Okay, that was cool." A year or
two down the road, you'd sell it to your friend because you're done with

it. You experienced it. You got your thrills off. You know, maybe even —

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you'd keep it, to just use once in a while. The point is, it would scratch

your full auto itch. It was affordable. It was accessible to everyone. It
was a very positive thing. It kept people from breaking the laws. Well,
that got banned. So now our options have been reduced.

So what options do you have to experience full auto? Number one, the
binary trigger system. This sounds great, and you do get to experience
kind of what it would like to be full auto, but it's $450. And because of —
because of all the legislation that's happened, it's very feasible that this
is gonna be on the ATF “no-go” list. So there's tracking numbers. You
spent $450, possibly on a part you have to throw away in a month. So
that kind of sucks.

Number two, transferable machine gun. That is an excellent way to go,
but you're gonna be into it for about $10,000. Ah, you're gonna have
problems crossing state lines. There's a whole bunch of regulations
behind it. Basically, wnen you buy something like a transferable
machine gun, they just wrap you in red tape, hoping that someday you
screw up so they can destroy that machine gun. Plus, we're talking
$10,000.

Next option, you get an SOT, which is what | am, so you can legally
make machine guns for demonstration purposes, testing, stuff like that.
That will cost you 500 bucks. Plus, then you got your initial FFL, which
is $150. So after you pay the 150, it's 500 bucks a year, but with having
an FFL, you'll generate enough money to where the SOT is free. That is
an excellent way to go. Then you can just take this bad boy to the drill

press, put a third hole on it, put all your machine gun parts in there, and

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it's good to go. However, once a machine-gun, always a machine gun.

Now I'm having troubles figuring out exactly if | can salvage the upper
receiver. | talked to my ATF field agent. He didn't know. | still got to talk
to the NFA specialist. The information I've been getting so far has just
been opinion. | haven't got any concrete facts, but everything on the
lower receiver would have to be destroyed, for sure 100%. The
receiver, all the trigger parts, everything like that. | don't Know if | can
salvage the upper or not. That's to be decided.

The next disadvantage is, unless you have an FFL at your house, like
where I'm an SOT here at the shop. This is shop property, so | could
not take it home with me. So if | turn that into a machine gun, it's forever
for the shop for testing or demonstration. | can't shove it underneath my
bed. So you got your pros and cons.

Next, you make your own binary trigger. | did a video on this. It's right
up here. Basically, what you're gonna do Is buy an M16 fire control
group that has not been installed in a machine gun because once it's
been installed in our machine gun, you can't have it because those
parts are machine guns. But if they're manufactured new, and it hasn't
been installed in a machine gun yet, you can legally possess it as long
as you don't have the intent to make a machine gun, but we don't here.
We're trying to make a binary trigger.

So you do a little filing. You work the trigger over. Now you made your
own binary trigger, somewhere around $150, give or take, depending

on, you know, what's going on. Probably after this video drops, you'll

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see a huge spike in price because a bunch of people will go to my other

video, learn how to do it, and make their own.

Go rent a machine gun. That's not a bad option if you live by a place
that rents it. So we're talking about living somewhere probably by
Texas, or Nevada, something like that. | was kind of skimming over the
prices to get a feel for it. If you live there, there's no travel expense.
Nothing like that. You can go in, and you can get two mags for about
$65. That's not too bad.

Now, If you live like say where | do, and you've got to fly there, you'd be
into it for probably like 1,500 bucks for two magazines. So that kind of
sucks, but it's a great option if you live by a machine gun rental place.
Eventually, I'm getting the property next to this, and I'm gonna have a
machine gun rental place right there, but that — that's a couple of years
down the road.

All right, number 6. Zero [donkey noise] given. This would apply to a
prohibited person because a prohibited person — when they say you
can't have gun rights anymore, that doesn't mean you can't have guns.
What that means is your chains have been broken. You can do
whatever the hell you want with a gun. You can drill your third hole. Do
whatever you want ‘cause it doesn't matter. If you get caught with the
gun anyway, you're already screwed. So why not do whatever you want
with it. You make a machine gun. The next person that this would
classify to is any single male under the age of 30.

So these are an excellent conversation piece. They're cool. It's just —

it's a novelty item. It's awesome to have. This particular one is actually

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a beer opener that has the designs on it. And to see — especially this

one where they didn't cut those two little parts - an ATF agent walk into
a courtroom and argue that this piece of metal with a drawing on it is a
machine gun. Yes, they probably will do that at some point in time. It's
just ridiculous. But these are so incredibly affordable, it doesn't really
matter. Like | said, | bought a pile of them for stocking stuffers.

Now when | purchased them, what | did is | called them. | had them fax
— fax an order form to my library, got a money order, put it in there, and
| sent it out. But now | was just checking out their website before | made
this video, and it does look like you can just print off a mail-in order
form. So then, if you're still super paranoid that the ATF are gonna
come shoot your dog, well, it don't matter. You print off this order form,
put in a money order. None of that's traceable. Send it to the company.
You have the address that ships to as one of your anti-gun relatives.
You inform them, "Hey, | ordered a package from —" what's this
company called again? “Auto Key Card, uh, they're basically — well, it
doesn't really matter what it is. The point is, somehow your address
accidentally got on my order form. A package is gonna be showing up
from Auto Key Card. When it does, let me know so | can come pick it
up. That'd be awesome. I'll give you like 20 bucks or something.” So
that it's not related to you at all. And they make different models. So
again, you can just get the one with the drawing on it or the one that's
cut out.

So the options if you're going under the number six qualification,

depending on what bolt carrier you have, because there's several

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different AR-15 bolt carriers because Colt in all their awesomeness

because they had the patent, and the — well they didn't have the patent.
It's — it's complicated. AR-15 actually stands for ArmaLite 15. So that's
why | Colt hasn't — isn't even called an AR-15. They use weird
designations, and all the rest of the AR-15s are not called AR-15s. They
have a different name on it. The only one that actually is labeled AR-15
are ArmaLite brand rifles.

The point is Colt had the market. They don't trust civilians. Colt has
never trust civilians. Yes, you could buy some SPs that were full auto.
You could. They had that option out there, but the ones that weren't
they went through great lengths to see to it that you could never
manufacture it into a full auto.

So they have a whole bunch of different bolt carrier designs. So
depending on what bolt carrier design you have, for example, if you
have an M16 bolt carrier, which is this one right here, which means the
top and the bottom are the equal distance apart, and you have a low
shelf lower receiver. | went into great detail about the coat hanger
machine gun. You would use a coat hanger — uh, this is what the
thumbnail tab video looks like right there. So that — that's great if you
have that one.

The next one would be the swift link. Wish was selling them. They had
them disguised as a little stick-on coat rack. You just snapped off the
back of it, dropped it in your receiver, and you had a machine gun. That
was for this particular type. So the bolt carrier doesn't line up on the top

and bottom, but it's not like an SP1 carrier. What that does is it comes

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in, but not enough to actuate an auto sear. So your swift link has to go

back here to catch it and trip the hammer. Then the next option,
because I'm gonna get into the lightning link because that's actually
next on there, but we're gonna talk about that one last, Is to drill a third
hole. Take your bad boy to the drill press. Drill your third hole. Make an
actual machine gun, or you can use in a drop-in auto sear. A lot of
people don't do the third hole thing because once you even scratch,
because | talked to the ATF about this. Like say | were to take a punch
and punch where the auto sear hole would be, this would be a machine
gun even though it's just a dimple. They call it dimpling. That's actually
why the Troy Industries XM177E2 got pulled from the market because
they had that fake auto sear pinhole. That was counted as dimpling;
they had to pull them from sales. So a lot of people don't do the third
hole because then your firearm's obviously a machine gun forever. You
have to literally start a bonfire and melt the receiver to get rid of it to
where you don't have to sweat that the ATF is gonna come shoot your
dog.

There's the drop in auto sear, where you put in all M16 parts, and then
you put the actual drop in auto sear in there. So then you got safe semi
select fire, and you're good to go on that.

Now, if you have the Colt original SP1, their first attempt at preventing
civilians from having machine guns. They use a different bolt carrier.
What theirs is, is just about a half-inch deep. | measured what it would
be. So it'd be cut right — right there, which is point four. Now why this is

relevant is because point four would stop on this side of your takedown

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little bar right there. So what would happen is you would cut this out,

this piece right here, you would cut out would fit in the slot right here.
That slot rignt here would go under this takedown bar, and it will come
up right here. So when your bolt carrier goes forward, it pulls back on
this piece. What that piece does is when you fire your AR, it's sitting
right here. You fire, it comes back, and it locks down on this. The
Lightning Link goes over top of this like so. So when your bolt comes
forward, this little bar would be sticking up here. Your bolt would hit the
back of the bar. It would pivot. It would pull back and release your
hammer, and you would have a machine gun. And that's how the
lightning link works.

So in order for that to work, you got to have a Colt SP1 bolt carrier. |
don't have, | believe it was pre 2015 Bushmaster actually made SP1
bolt carriers, but it don't matter. | mean, you can just Jump on the
internet and grab an SP1 bolt carrier. They're actually really available
and really affordable, and they're the same price as any other bolt
carrier. Well, at least at the time of filming this video. I'm assuming after
the video drops, then that'll change. Well, you can just go on the
internet and find SP1 style bolt carriers. | believe previous to 2015,
Bushmaster went with that particular style bolt carrier.

Again, | -- | know somebody that’s got one, so I'll have to pull his rifle
apart and double-check, but it's super easy to tell. It'll be less than
halfway. It will be cut right here. So if you have that bolt carrier, the
lightning link will work for you. And these are awesome because they're

stupid cheap. You could drop it in your rifle — or, you Know, if you're

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actually gonna do this legally, this is just the bottle opener. What this is,

is anovelty. So when someone sees it, they're like, "Hey, what is this?"
You explain to them that because laws are so ridiculous and so out of
control if | were to cut on these lines, | would become a felon. How
ridiculous is that? And it's just a conversation starter, but if you were an
SOT like me, and you were legally allowed to, or you qualify for option
number six, and you cut along these lines and put it together, | could
register this as a machine gun, drop it in my rifle. Do testing,
demonstration, pull it out, and to the best of my knowledge — | still got to
talk to my ATF specialist for the NFA — but to the best of my knowledge,
| can do testing will say this firearm, pull this out, and now | — | would
only have to destroy this. | don't have to destroy it — my lower receiver.
No damage done to it. This is still a transferable firearm. Again to the
best of my knowledge. And this is the only machine gun.

So anyway, | hope this video gave you the answers you were looking
for. If not, you know, just hop down in the comment section. I'll try to
answer as many as | can. Depending on how popular this video is, how
many comments | get will dictate how I'm able to answer that
comments.

But anyway, thank you for watching. If you would like help to support
the channel, | got my Patreon right there. | also have affiliate links down
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(CONCLUSION OF VIDEO)

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